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                  Exhibit A
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                Case No. 9:22-CIV-22541-BER


   METROCITY HOLDINGS, LLC,

         Plaintiff,

   v.

   BANK OF AMERICA, N.A.,

         Defendant.
                                             /

   RUSTY 115 CORP. et al.,

         Plaintiff,

   v.

   BANK OF AMERICA, N.A.,

         Defendant.

                                             /


                       [PROPOSED] FIRST AMENDED COMPLAINT

         Plaintiffs Rusty115 Corp., Hopop Corp., DavidPop Corp., RustyPop Corp., and DaRusty

   Corp. (collectively, “Rusty”); Moncler Motors, LLC, BOE 25014, LLC; BOE 30868, LLC; BOE

   30874, LLC; BOE 30875, LLC; BOE 34432, LLC; Dash 4542 LLC; Dash 4554 LLC; and Dash

   4555 LLC (collectively “Moncler”); CMG 777Escrow3, LLC; CMG 777 Escrow4 LLC; CMG

   777Escrow5, LLC; and CMG DHC8Escrow7, LLC (collectively, “CMG ”); Bayside Support

   Services, LLC (“Bayside”); CCUR Holdings Inc. and CCUR Aviation Finance LLC




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   (collectively, “CCUR”); and Edidin Partners, LLC (“Edidin”) (all of the foregoing, collectively

   “Plaintiffs”) sue defendant Bank of America, N.A. (“BofA”) and allege as follows:

                                           INTRODUCTION

          1.       Plaintiffs are victims of a Ponzi scheme involving fraudulent aircraft sale

   transactions enabled by BofA’s misrepresentations and omissions to Plaintiffs and BofA’s failure

   to abide by its obligations with respect to the trust account (the “Trust Account”) in which

   Plaintiffs deposited more than $167 million—all of which Plaintiffs have lost as a result of the

   Ponzi scheme. Knowing that Plaintiffs would rely upon them to make deposits into the Trust

   Account, BofA issued letters (the “Letters”) that knowingly or negligently falsely represented the

   financial trustworthiness and condition of its customer, Wright Brothers Aviation Title (“Wright

   Brothers”), whose employees were at the center of the Ponzi scheme, and which BofA told

   Plaintiffs was a “well respected aviation title company.” The Letters also knowingly both

   misrepresented and omitted material information concerning the amounts and activity in the Trust

   Account.

          2.       Without these representations and omissions by BofA and the comfort of BofA’s

   vouching for Wright Brothers, Plaintiffs never would have entered into the transactions with

   Wright Brothers and, consequently, never would have transferred millions of dollars into the

   Trust Account. BofA knew and intended its false and misleading Letters to be used by Wright

   Brothers to lure third parties like Plaintiffs to participate in the Ponzi scheme. Indeed, BofA knew

   that the very fact of a highly-respected national bank vouching for Wright Brothers was intended

   to—and did—cloak with legitimacy both Wright Brothers and the transactions in which Plaintiffs

   participated.




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          3.      In its Letters, in addition to providing general assurances about Wright Brothers’

   excellent standing with BofA and the quality of services Wright Brothers provided to its clients

   and touting of Wright Brothers as a “well respected aviation title company,” BofA provided

   specific information about Wright Brothers and its accounts, including the dollar amount of

   aviation transactions that “passed through” Wright Brothers’ Trust Account. The Letters included

   materially false and misleading information, including gross overstatements of the account

   balances Wright Brothers maintained at BofA, and material omissions, including with respect to

   the activity of the Trust Account, which BofA knew was inconsistent with an account in which

   it knew escrow funds relating to aviation transactions were deposited.

          4.      The Letters did, however, achieve their intended purpose: to get Plaintiffs to pour

   millions of dollars into Wright Brothers’ Ponzi scheme. On February 24, 2021, Plaintiffs first

   learned of the enormous scope of the fraud when the U.S. Attorney’s Office for the Eastern

   District of Texas unsealed a third superseding indictment charging Debra Mercer-Erwin

   (“Mercer-Erwin”) and Kayleigh Moffett (“Moffett”), the mother and daughter who, in addition

   to being Wright Brothers employees were also the company’s owner and officer, respectively,

   with criminal violations, including fraud, money laundering, and narcotics trafficking. 1 It was

   then that Plaintiffs realized that Wright Brothers, the customer lauded by BofA as a “well

   respected aviation title company,” had stolen their money.

          5.      According to the Fifth Superseding Indictment filed in that case, see U.S. v.

   Mercer Erwin [ECF No. 224], “[i]t was the general purpose of the conspiracy for the defendants

   and their co-conspirators to defraud victim investors, illegally funnel investment money


   1
     The Department of Justice first indicted Mercer-Erwin and Moffett in a sealed filing in August
   2020. See United States v. Mercer-Erwin, No. 4:20-00212-ALM-KPJ (E.D. Tex. Aug. 12, 2020)
   (“U.S. v. Mercer Erwin”). That indictment and the first and second superseding indictments
   remained sealed until the unsealing of the third superseding indictment.

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   designated for aircraft purchases into foreign investments, and to conceal from the victim

   investors that their investment funds were not being used to purchased aircraft.” On May 3, 2023,

   Mercer-Erwin was convicted for her part in the scheme. See Count Seven, Jury Verdict, [ECF

   No. 453] filed in U.S. v. Mercer Erwin. Id. at 41. Among other things, Mercer-Erwin was found

   guilty of conspiracy to commit wire fraud. Id.

                             PARTIES, JURISDICTION, AND VENUE

          6.      Plaintiffs Rusty115 Corp., Hopop Corp., DavidPop Corp., RustyPop Corp., and

   DaRusty Corp. are corporations incorporated in Florida with their principal places of business at

   711 N. Ocean Boulevard, Delray Beach, FL 33483.

          7.      Plaintiffs Moncler Motors, LLC; BOE 25014, LLC; BOE 30868, LLC; BOE

   30874, LLC; BOE 30875, LLC; BOE 34432, LLC; Dash 4542 LLC; Dash 4554 LLC; and Dash

   4555 LLC are limited liability companies organized and existing under the laws of the state of

   Florida, with their principal place of business at 16690 Collins Avenue, Suite 1104, Sunny Isles

   Beach, FL 33160. None of limited partners of these limited liability companies is a citizen of

   North Carolina.

          8.      Plaintiffs CMG 777Escrow3, LLC; CMG 777Escrow4 LLC; CMG 777Escrow5,

   LLC; and CMG DHC8Escrow7, LLC are limited liability companies organized and existing

   under the laws of the State of Florida with their principal place of business at 4141 N.E. 2nd

   Avenue, Suite 204-A, Miami, FL 33137. None of limited partners of these limited liability

   companies is a citizen of North Carolina.

          9.      Plaintiff Bayside Support Services, LLC is a limited liability company organized

   and existing under the laws of the State of Florida with its principal place of business at 2 South




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   Biscayne Blvd, Suite 2680, Miami, FL 33131. None of limited partners of this limited liability

   company is a citizen of North Carolina.

           10.     Plaintiff Edidin Partners, LLC is a limited liability company organized and

   existing under the laws of the State of Delaware with its principal place of business at 3599

   Hollywood Oaks Dr., Ft. Lauderdale, FL 33312. None of limited partners of this limited liability

   company is a citizen of North Carolina.

           11.     Plaintiffs CCUR Holdings, Inc. and CCUR Aviation Finance LLC are entities

   organized and existing under the laws of the State of Delaware with their principal places of

   business at 3800 N Lamar Blvd, Suite 200, Austin, TX 78756. None of limited partners of CCUR

   Aviation Finance LLC is a citizen of North Carolina.

           12.     Defendant BofA is a national association with its principal place of business at

   100 North Tryon Street in Charlotte, North Carolina. BofA is subject to personal jurisdiction in

   Florida pursuant to Fla. Stat. § 48.193(1)(a)(1) because it operates, conducts, engages in, or

   carries on a business or business venture in this state and has offices and agencies in this state;

   and pursuant to Fla. Stat. § 48.193(1)(a)(6)(a) because it caused injury to persons within this state

   arising out of an act or omission by it outside of this state when, at or about the time of the injury,

   it engaged in solicitation or service activities within this state.

           13.     Although Plaintiffs filed this action in Florida state court, BofA removed this

   action on the basis of diversity jurisdiction. [D.E. 1.] Subject matter jurisdiction exists because

   Plaintiffs and BofA are citizens of different states and the amount in controversy exceeds

   $75,000. See 28 U.S.C. § 1332.




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           14.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) and (2) because

   BofA is subject to the Court’s personal jurisdiction with respect to this action and a substantial

   part of the events or omissions giving rise to the claim occurred in this district.

           15.     Plaintiffs reside in this district, the cause of action accrued in this district, and

   BofA has an office in this district for the transaction of its customary business.

                                      FACTUAL ALLEGATIONS

   I.      The Ponzi Scheme

           16.     The Ponzi scheme perpetrated against the Plaintiffs was straightforward. The

   Plaintiffs put up, to be held in escrow, substantial deposits for the future purchase of aircraft by

   others. Plaintiffs were supposed to receive the return of the deposits they advanced once these

   sales transactions were either consummated or cancelled. In exchange for putting up these

   deposits, Plaintiffs were paid interest or a fee. To provide assurance to Plaintiffs that their

   escrowed deposits would be safeguarded, the deposits were to be held in the Trust Account with

   BofA. When those operating the Ponzi scheme were indicted, Plaintiffs learned that their monies

   had not been held in escrow in the Trust Account, but had been paid out by BofA and used by

   the fraudsters for illicit purposes.

           17.     To effectuate these transactions, Plaintiffs entered into escrow agreements with

   Wright Brothers, a third-party agent in the business of providing closing and escrow services in

   connection with the sale of aircraft (the “Escrow Agreements”). Mercer-Erwin was the owner

   and senior officer of Wright Brothers and her daughter, Moffett, was an officer of Wright

   Brothers. Those Escrow Agreements governed the deposit and return of the escrow deposit funds.

   Wright Brothers was designated as the third-party escrow agent by Federico Andres Machado,

   who operated the Ponzi scheme in concert with Wright Brothers, Mercer-Erwin, and Moffett.



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   The terms of Plaintiffs’ Escrow Agreements specified that the escrowed funds would be

   deposited in the Trust Account maintained by BofA. In view of the fact that Plaintiffs would

   deposit hundreds of millions of dollars, the fact that a bank of BofA’s reputation would maintain

   the Trust Account with the escrowed funds was of critical importance to Plaintiffs.

          18.     Although BofA has elsewhere pled that the account was not, in fact, a trust

   account, BofA labeled the account as a trust account and Wright Brothers’ account statements

   clearly bear the name “Wright Brothers Aircraft Title Inc. Trust Account.”

   II.    The Escrow Agreements and Trust Account Deposits

          19.     Between November 2019 and November 2020, Plaintiffs and Wright Brothers

   entered into Escrow Agreements, each of which identifies the particular aircraft that is the subject

   of that Agreement by using the aircraft’s unique Manufacturer Serial Number (“MSN”).

          20.     Rusty entered into the following Escrow Agreements:

                  a.      May 18, 2020 DavidPop Escrow Agreement re MSN 38288.

                  b.      May 18, 2020 HoPop Escrow Agreement re MSN 38290.

                  c.      Nov. 12, 2020 Rusty115 Corp Escrow Agreement re MSN 36306.

                  d.      Nov. 25, 2020 DaRusty Escrow Agreement re MSN 33377.

                  e.      Nov. 25, 2020 RustyPop Escrow Agreement re MSN 34568.

          21.     CMG entered into the following Escrow Agreements:

                  a.      Nov. 12, 2019 CMG 777Escrow3 LLC Escrow Agreement re MSN
                          35159.

                  b.      Nov. 14, 2019 CMG 777Escrow3 LLC re SN 35160.

                  c.      Nov. 8, 2020 CMG 777Escrow4 LLC Escrow Agreement re MSN 40198.




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               d.     Aug. 5, 2020 CMG 777Escrow5 LLC Escrow Agreement re MSN 40199.

               e.     Aug. 6, 2020 CMG 777Escrow5 LLC Escrow Agreement re MSN 40074.

               f.     Aug. 7, 2020 CMG 777Escrow5 LLC Escrow Agreement re MSN 40073.

               g.     Dec. 1, 2020 CMG DHC8Escrow7 LLC Escrow Agreement re MSN
                      4540.

               h.     Dec. 1, 2020 CMG DHC8Escrow7 LLC Escrow Agreement re MSN
                      4542.

         22.   Moncler entered into the following Escrow Agreements:

               a.     Feb. 7, 2020 BOE 30875 LLC Escrow Agreement re MSN 30875.

               b.     Apr. 16, 2020 BOE 30874, LLC Escrow Agreement re MSN 30874.

               c.     Apr. 29, 2020 BOE 30868 LLC Escrow Agreement re MSN 30868.

               d.     May 18, 2020 BOE 34432, LLC Escrow Agreement re MSN 34432.

               e.     July 31, 2020 DASH 4542, LLC Escrow Agreement re MSN 4542.

               f.     July 31, 2020 DASH 4554, LLC Escrow Agreement re MSN 4554.

               g.     July 31, 2020 DASH 4555, LLC Escrow Agreement re MSN 4555.

               h.     Nov. 20, 2020 BOE 25014, LLC Escrow Agreement re MSN 25014.

         23.   Bayside entered into the following Escrow Agreements:

               a.     July 6, 2020 Bayside Escrow Agreement re MSN 36305.

               b.     July 6, 2020 Bayside Escrow Agreement re MSN 36306.

               c.     Sept. 11, 2020 Bayside Escrow Agreement re MSN 36319.

               d.     Sept. 11, 2020 Bayside Escrow Agreement re MSN 36318.

         24.   CCUR entered into the following Escrow Agreements:

               a.     May 14, 2020 CCUR Holdings, Inc. Agreement re MSN 34432.

               b.     May 14, 2020 CCUR Holdings, Inc. Agreement re MSN 35301.


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                   c.      Aug. 28, 2020 CCUR Aviation Finance, LLC Agreement re MSN 40342.

                   d.      Aug. 28, 2020 CCUR Aviation Finance, LLC Agreement re MSN 40343.

           25.     Edidin entered into the following Escrow Agreements:

                   a.      May 14, 2020 Edidin Agreement re MSN 34432.

                   b.      May 14, 2020 Edidin Agreement re MSN 35301.

                   c.      Aug. 27, 2020 Edidin Agreement re MSN 40342.

                   d.      Aug. 27, 2020 Edidin Agreement re MSN 40343.

           26.     Under the terms of each Escrow Agreement, Wright Brothers was defined as the

    “Escrow Agent” and the respective Plaintiff was defined as the “Depositor.” In the Escrow

    Agreements, Wright Brothers agreed “to hold, invest, and disburse all funds received from or on

    behalf of the Depositor” in accordance with the terms of the agreement. Wright Brothers also

    agreed to, “under no circumstances . . . disburse the Escrow Funds or any portion thereof to any

    party other than the Depositor,” as is customary in aircraft transactions.

           27.     The Escrow Agreements also provided that Plaintiffs would wire a specified

    amount, ranging from $250 thousand to $15 million (the “Escrow Funds”) to the Trust Account.

           28.     Pursuant to its Escrow Agreements, Rusty made deposits in the aggregate amount

    of $25,000,000 into the Trust Account, as follows:

                   a. 5/18/20     DavidPop        38288     SU-GDN         $5,000,000.

                   b. 5/18/20     HoPop           38290     SU-GDP         $5,000,000.

                   c. 11/12/20    Rusty115        36306     VT-ALG         $5,000,000.

                   d. 11/25/20    DaRusty         33377     9V-SWB         $5,000,000.

                   e. 11/25/20    RustyPop        34568     9V-SWA         $5,000,000.



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           29.    Pursuant to its Escrow Agreements, CMG made deposits in the aggregate amount

    of $75,000,000 into the Trust Account, as follows:

                  a. 11/12/19     CMG 777 ESCROW3 LLC            35159 VT-JES $15,000,000.

                  b. 11/14/19     CMG 777 ESCROW3 LLC            35160 VT-JEU $15,000,000.

                  c. 7/8/20       CMG 777 ESCROW4 LLC            40198 HL-825 $10,000,000.

                  d. 8/5/20       CMG 777 ESCROW5 LLC            40073 PK-GIK $10,000,000.

                  e. 8/7/20       CMG 777 ESCROW5 LLC            40074 PK-GIA $10,000,000.

                  f. 8/5/20       CMG 777 ESCROW5 LLC            40199 HL8284 $10,000,000.

                  g. 9/1/20      CMG DHC8 ESCROW7 LLC 4540                ET-AU $2,500,000.

                  h. 9/1/20      CMG DHC8 ESCROW7 LLC 4542                ET-AU $2,500,000.

           30.    Pursuant to its Escrow Agreements, Moncler made deposits in the aggregate

    amount of $32,875,000 into the Trust Account, as follows:

                  a. 2/6/20      BOE 30875, LLC          30875   9V-SQJ         $4,000,000.

                  b. 4/16/20     BOE 30874, LLC          30874   9V-SVM         $4,150,000.

                  c. 4/29/20     BOE 30868, LLC          30868   9V-SYF         $3,950,000.

                  d. 5/18/20     BOE 34432, LLC          34432   B-KPC          $4,050,000.

                  e. 7/31/20     Dash 4555 LLC           4555    5Y-JXB         $4,575,000.

                  f. 7/31/20     Dash 4542 LLC           4542    ET-AUE         $4,575,000.

                  g. 7/31/20     Dash 4554 LLC           4554    5Y-JXE         $4,575,000.

                  h. 11/20/20    BOE 25014, LLC          25014   N755CS         $3,000,000.

           31.    Pursuant to its Escrow Agreements, Bayside made deposits in the aggregate

    amount of $19,000,000 into the Trust Account, as follows:




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                   a. 7/6/2020     Bayside Support Services, LLC      36305 VT-ALF $4,750,000.

                   b. 7/6/2020     Bayside Support Services, LLC      36306 VT-ALG $4,750,000.

                   c. 9/11/2020    Bayside Support Services, LLC      36319 VT-ALU $4,750,000.

                   d. 9/11/2020    Bayside Support Services, LLC      36318 T-ALT      $4,750,000.

           32.     Pursuant to its Escrow Agreements, CCUR made deposits in the aggregate amount

    of $14,000,000 into the Trust Account, as follows:

                   a. 5/14/2020 CCUR Holdings, Inc.                 34432    K-BPC        $2,500,000.

                   b. 11/13/2020 CCUR Aviation Finance, LLC         34432    K-BPC        $1,750,000.

                   c. 5/14/2020 CCUR Holdings, Inc.                 35301    K-BPH        $2,500,000.

                   d. 11/13/2020 CCUR Aviation Finance, LLC         35301    K-BPH        $1,750,000.

                   e. 8/28/2020 CCUR Aviation Finance, LLC          40342    4K-AI01      $2,500,000.

                   f. 11/27/2020 CCUR Aviation Finance, LLC         40342    4K-AI01      $250,000.

                   g. 8/28/2020 CCUR Aviation Finance, LLC          40343    4K-AZ81      $2,500,000.

                   h. 11/27/2020 CCUR Aviation Finance, LLC         40343    4K-AZ81      $250,000.

           33.     Pursuant to its Escrow Agreements, Edidin made deposits in the aggregate amount

    of $2,000,000 into the Trust Account, as follows:

                   a. 5/14/2020   Edidin Partners LLC       34432      K-BPC           $750,000.

                   b. 5/14/2020   Edidin Partners LLC       35301     K-BPH            $750,000.

                   c. 8/27/2020   Edidin Partners LLC       40342     4K-AI01          $250,000.

                   d. 8/27/2020   Edidin Partners LLC       40343     4K-AZ81          $250,000.

           34.     Pursuant to the Escrow Agreements, Plaintiffs collectively deposited in excess of

    $167 million to the Trust Account with respect to these transactions.


    III.   The Indictment


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             35.   On February 24, 2021, in United States v. Debra Lynn Mercer-Erwin, et al., Case

    No. 4:20-CR-212, in the Eastern District of Texas, the government unsealed a Third Superseding

    Indictment charging Mercer-Erwin and Moffett (and others, including Machado) with money

    laundering, wire fraud, aircraft registration violations, and conspiracy to distribute narcotics. On

    May 5, 2021, the government filed a Fifth Superseding Indictment (the “Indictment”) alleging

    that beginning on an as-yet undetermined date, but no later than 2016, Wright Brothers, through

    its principals and agents, Mercer-Erwin and Moffett, conspired with Machado and others

    (together, the “Ponzi Perpetrators” or “Perpetrators”) to devise and perpetrate a Ponzi scheme in

    connection with the putative purchase of commercial aircraft. The government arrested Mercer-

    Erwin and Moffett and, around December 2020, seized the remaining funds held in the Trust

    Account maintained by BofA. As of the date of this filing, Machado is outside of the United

    States and is the subject of extradition proceedings brought by the U.S. Department of Justice.

             36.   As detailed in the Indictment, the Perpetrators used fraudulent or fictitious buyers,

    including South Aviation, Inc. (“South Aviation”), Machado’s company, to induce individuals

    and entities – including Plaintiffs – to invest in the Ponzi scheme by depositing money in the

    Trust Account maintained by BofA.

             37.   After Plaintiffs’ funds were deposited into the Trust Account, they were not kept

    in the Trust Account as required by the Escrow Agreements, but instead were illicitly diverted

    from the Trust Account to Machado or Machado-designated entities. In some instances, the

    monies were transferred out of the Trust Account on the same day they were deposited, contrary

    to the nature and purpose of an escrow account in the aviation sales business.

             38.   As detailed in the Indictment, the Ponzi scheme consisted of the following four

    steps:



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                   a.      Pursuant to the Escrow Agreements, in exchange for receipt of interest or

    a fee, a Plaintiff agreed to provide the fraudulent buyer (e.g., South Aviation) with a refundable

    deposit, which the fraudulent buyer purported would be used as security for the purchase of the

    aircraft.

                   b.      The fraudulent buyer designated the Trust Account maintained at BofA to

    hold in escrow the Plaintiff’s money.

                   c.      The Escrow Agreements required that the Plaintiff’s money be fully

    refunded from the Trust Account unless the putative buyer successfully completed an inspection

    of the aircraft by a date certain. Notwithstanding that an inspection did not take place due to the

    fraudulent nature of the scheme, the Perpetrators did not refund the Plaintiff’s deposit, instead

    illicitly transferring it to other accounts. In addition to the funds the Perpetrators diverted to

    others, they also used funds from the Trust Account in order to “compensate” themselves for the

    fraudulent transactions.

                   d.      To perpetuate the Ponzi scheme, another deposit would be secured from

    another victim for the purported purchase of a different aircraft. This deposit was then used to

    pay the principal and interest owed to another victim of a previous fraudulent transaction. This

    Ponzi cycle continued until the unsealing of the indictment, at which point Plaintiffs became

    aware that they had suffered their losses.

            39.    Wright Brothers allowed South Aviation and Machado access to Plaintiffs’ funds

    that were deposited in the Trust Account. Mercer-Erwin, Moffett, and other Perpetrators with

    access to the Trust Account, then transferred funds, including Plaintiffs’ funds, from the Trust

    Account to other accounts for their own illicit, personal use.

    IV.     BofA’s Relationship with Wright Brothers and Knowledge of Escrow



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           40.     Since at least August 2, 2002, BofA has maintained Wright Brothers as a banking

    customer. On that date, Mercer-Erwin, as President and Secretary of Wright Brothers, executed

    corporate signature cards for two Wright Brothers business bank accounts: (1) the Operating

    Account (“Wright Brothers Aircraft Title, Inc. Operating Account,” ending in *9081) and (2) the

    Trust Account (“Wright Brothers Aircraft Title, Inc. Trust Account,” ending in *9094). The

    signature card provided by BofA and all the bank statements from the Trust Account clearly

    identify it as a “Trust Account,” while the bank statements for the operating account identified it

    as an “Operating Account.” In one of the Letters, BofA identified the account as the

    “Wright Brothers Aircraft Title, Inc. Trust Account.” Since Wright Brothers and BofA

    established the Operating Account and the Trust Account, BofA has earned fees from

    maintaining those accounts.

           41.     BofA denies that the Trust Account account was a “trust account.”

           42.     In contrast to a typical “operating account,” where funds can be withdrawn at will

    by the account holder for whatever purpose, the Trust Account that BofA maintained for Wright

    Brothers was designed and intended to provide a safe and reliable method of securing deposited

    escrow funds. The Trust Account was designed to hold in escrow funds on behalf of Plaintiffs

    until the inspection of the aircraft and other steps related to the aircraft purchase transaction were

    completed. Wright Brothers, as the escrow agent, owed Plaintiffs a fiduciary duty to keep the

    escrowed funds secure until the fulfillment of certain conditions of the transactions. Following

    satisfaction of the conditions, Wright Brothers had a fiduciary duty to dispense the escrowed

    funds, and then only as permitted by the escrow agreement.

           43.     For several reasons, BofA knew or should have known of the nature of the

    relationship between Wright Brothers and Plaintiffs and, specifically, that Wright Brothers held



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    itself out as an escrow agent with respect to the funds in the Trust Account and owed Plaintiffs a

    fiduciary duty:

                      a.     BofA itself has experience in aviation transactions, including with respect

    to escrowed deposit funds. In fact, the leasing arm of BofA has been involved as a seller (either

    directly or through agents) in transactions where Wright Brothers has been the escrow agent and

    where BofA has been designated as Wright Brother’s bank. In one such transaction for the

    purchase of an aircraft by a limited liability company managed by the entity that manages the

    CMG Plaintiffs, BofA’s affiliate executed a security deposit escrow agreement with Wright

    Brothers. The agreement provided that Wright Brothers would hold the CMG entity’s deposit “in

    escrow.” BofA thus knew from its own participation in aviation transactions that they involve the

    holding deposits in escrow and, specifically, that Wright Brothers acted as an escrow agent.

                      b.     BofA is experienced in aviation transactions, which typically involve the

    holding of deposits in escrow by aviation title companies. BofA’s aircraft leasing and financing

    arm touts its “specialized aviation expertise”2 and characterizes itself as “a leader in the corporate

    aircraft market.”3 In the Letters, BofA touted its knowledge of aviation title companies when

    represented to Plaintiffs that Wright Brothers was a “respected aviation title company.” It is a

    fact known in the aviation industry that an aircraft title company provides escrow services,

    including with respect to deposits.

                      c.     BofA was specifically aware that Plaintiffs’ funds were to be held in

    escrow by Wright Brothers as a result of communications in which that fact was disclosed. Those




    2
        Found at www.leasingportalonline.bankofamerica.com.
    3
        Found at https://centreforaviation.com/data/profiles/lessors/bank-of-america-leasing.

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    communications included 2016 communications with CMG and Moncler and 2019

    communications with Metrocity Holdings, LLC.

                    d.     BofA also received at least one Escrow Agreement. The Escrow

    Agreement made clear that the funds deposited in the Trust Account were deposits to be held in

    escrow by Wright Brothers and that the funds could not be disbursed to any party other than the

    depositor Plaintiff.

                    e.     BofA confirmed that it had knowledge of Wright Brothers’ business when

    it responded to a “314(b) Information Sharing Request” pursuant to the Patriot Act from Wells

    Fargo Bank in September 2018 concerning fraud with respect to a wire sent from the Trust

    Account to a Wells Fargo customer. In that inquiry, Wells Fargo asked BofA “what industry”

    Wright Brothers was involved in. BofA referred Wells Fargo to the page of Wright Brothers’

    website (http://wbaircraft.com/services/) on which the services provided by Wright Brothers

    were listed, showing that BofA knew that Wright Brothers’ website listed the company’s services

    and had accessed that portion of the services. As of August 2018, the first listed service was

    “escrow service.” In discussing its escrow services, Wright Brothers touted its “long standing

    relationship with Bank of America Merrill Lynch for all international transactions.” The other

    services listed as provided by Wright Brothers were “title search,” “document filing,” “title

    clearing,” and “N-number reservation.” None of these other services involved Wright Brothers

    maintaining an account holding millions of dollars – only the escrow services did – which is why

    only in relation to its escrow services did Wright Brothers tout its “long standing relationship”

    with BofA. The Wright Brothers website also discussed the role of escrow agents in aviation

    transactions: “Escrow Agents act as neutral 3rd parties that can hold funds in a bonded and




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    insured bank account, to be distributed at a set time and according to terms that are agreed upon

    by all the parties to a transaction.”

            In addition, BofA represented to Wells Fargo that the transactions in the Trust Account

    were consistent with Wright Brothers’ services. Wells Fargo specifically asked BofA the

    following question: “Does Bank of America consider transactions involving Wright Brothers

    Aircraft Title Inc. consistent with their industry?” BofA responded as follows: “Yes. Client is a

    title and escrow services provider facilitating aircraft purchases.” This response makes clear that

    BofA knew the nature of Wright Brothers’ business and had determined that “transactions

    involving Wright Brothers” were “consistent with their industry.” Given that the only service

    provided by Wright Brothers that would involve the deposit, withdrawal, or transfer of large sums

    of money (typically deposits in the millions of dollars) was that of escrow agent, BofA’s response

    consisted of a representation that it had examined the Trust Account to determine whether the

    activity of the account was consistent with that of an account holding escrow funds.

            44.     In view of the foregoing, BofA knew (or should have known) that Wright Brothers

    held Plaintiffs’ funds in the Trust Account in escrow and, consequently, that there existed a

    fiduciary relationship between Wright Brothers and Plaintiffs.

    V.      BofA’s Responsibilities and Obligations with Respect to the Trust Account

            45.     In addition to its knowledge of Wright Brother’s business and about the nature of

    the escrowed funds deposited in the Trust Account, as a federally insured national association,

    BofA must comply, inter alia, with the provisions of the Bank Secrecy Act (31 U.S.C. §5311 et

    seq.) (“BSA”), which was enacted to prevent financial institutions from being used to hide and

    disguise money used in furtherance of criminal enterprises or other unlawful activities. Beyond




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    protecting the overall economy from the corrosive impacts of money laundering, BSA reporting

    can help protect individuals from fraud and theft of their assets. 4

           46.      The BSA establishes the standard for protective policies and procedures that

    govern all banking transactions. To comply with the requirements of the BSA, BofA is required

    to establish internal policies, procedures, and controls that are custom-tailored to the specific and

    unique aspects of BofA’s operations, including designation of specific officers to review

    compliance, employee training, independent testing, and customer due diligence. BofA also must

    implement programs that adequately prevent, detect, and report suspicious activity, as defined by

    the BSA and other pertinent statutes. These programs must reflect BofA’s specific risks and

    requirements.

           47.      BofA also must institute ongoing internal monitoring and review, as well as

    independent monitoring and audits, to ensure compliance with its obligations. Further, BofA must

    perform specific, risk-based due diligence focused on identified concerns or threats for suspicious

    transactions. As part of this due diligence, BofA must ensure strict compliance with the BSA’s

    “Know Your Customer” requirements, such as verifying the identity, suitability, and risks

    involved with maintaining a business relationship with all customers, including Wright Brothers,

    one of the Perpetrators of the fraud.

           48.      The “Know Your Customer” requirements are critical tools to improve BofA’s

    view of its clients’ identities and business relationships and to prevent BofA from participating

    in or facilitating illicit transactions, like the ones the Perpetrators ran through the Trust Account.

    The “Know Your Customer” obligations require that BofA must understand the nature of its



    4
      See, e.g., https://www.fincen.gov/news/news-releases/fincen-analysis-bank-secrecy-act-reports-
    filed-financial-institutions-help.

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    customers’ activities (including those of Wright Brothers) in order to ensure that the customer’s

    funds are from a legitimate source. The “Know Your Customer” requirements provide only a

    baseline for performing customer due diligence, which BofA was required to supplement by its

    own assessment of the risk profile of the customer, including that of Wright Brothers.

            49.    Enhanced Due Diligence (“EDD”), the collection of additional customer

    information, is mandated in connection with certain higher-risk customers or circumstances. In

    those circumstances, financial institutions, like BofA, are responsible for determining the risks

    and taking measures to ensure that customers, such as Wright Brothers, are not bad actors. This

    required that BofA consider the type of account, its size, and the pattern of activity, including

    types and frequency of transactions, among other factors, to assess account risk and to determine

    whether EDD is required.

            50.    Trust accounts, including the one at issue here, are the type of account with respect

    to which EDD is appropriate. Periodic reviews by a financial institution of its trust accounts and

    the associated risks are also considered best practices. BofA has internal policies and procedures,

    designed to ensure compliance with the BSA in general, and the “Know Your Customer”

    requirements specifically, that require BofA to apply EDD to trust accounts, including the Trust

    Account.

            51.    To comply with EDD requirements, it is standard industry practice for banks, like

    BofA, to have an automated account monitoring system that will examine transactions to identify

    the typical attributes of fraudulent transactions, including the common characteristics of

    transactions related to a Ponzi scheme. A standard automated account monitoring system sends

    an alert each and every time there is a deposit, withdrawal, or any transaction with suspicious

    attributes.



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            52.     BofA maintains a risk-based Anti-Money Laundering program which includes

    risk-based procedures for conducting ongoing customer due diligence, including conducting

    ongoing monitoring to identify and report suspicious transactions. BofA has developed a system

    to identify suspicious activity and to analyze that activity. As part of this system, BofA uses a

    variety of different means, such as automated monitoring and employee referrals to identify

    suspicious transactions. The information in this system disclosed that the Wright Brothers’

    transactions were not consistent with the nature of the Account. BofA thus had the means – and

    an obligation – to review the information gathered by this system. It avoided doing so.

    VI.     BofA Supplied the Perpetrators with False and Misleading Information That
            Enabled the Perpetrators to Commit Fraud

            53.     The cornerstone of the scheme to defraud Plaintiffs was the Perpetrators’ ability

    to convince Plaintiffs to deposit funds in the Trust Account. In order to accomplish that goal,

    BofA provided the Letters with respect to Wright Brothers that were intended to assure Plaintiffs,

    and other victims, of the legitimacy and solvency of Wright Brothers and its operations.

            54.     It is not uncommon for banks to issue comfort and balance verification letters,

    which are written undertakings designed to provide assurance to third parties with respect to the

    bank’s customer with whom the recipient is considering doing business. Where a bank provides

    a comfort or balance verification letter in connection with a transaction, the recipients of the letter

    foreseeably and reasonably rely on the assurances provided in the letter in deciding whether to

    proceed with the proposed transaction. That is the case with Plaintiffs.

            55.     Because comfort and balance verification letters are critically significant to third

    parties who have knowledge of them, including Plaintiffs – and because of the potential risks and

    exposure to the bank associated with issuing such letters – a prudent bank maintains stringent




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    policies and procedures in connection with drafting, reviewing, and issuing such letters in order

    to ensure that the information contained therein is accurate, complete, and truthful, as that

    information will be relied upon by third parties doing business with the bank’s customer. BofA

    has internal policies and procedures that govern the content and provision of comfort and balance

    verification letters.

            56.     From 2015 to 2020, BofA furnished Wright Brothers with multiple comfort and

    balance verification letters with the intent and knowledge that Wright Brothers and other

    Perpetrators would both provide those letters to potential victims of the Ponzi scheme and tout to

    victims the fact of its issuance of those letters, all to assure them that Wright Brothers could meet

    its financial and contractual obligations in connection with the sales and purchases of aircraft and

    induce deposits into the Trust Account. The Letters announced themselves as “letter[s] of

    reference” regarding the “relationship between Wright Brothers [and BofA]” indicating that

    BofA understood and intended that the letters would be provided to – and relied upon by –

    potential victims of the Ponzi scheme, including Plaintiffs. By providing the Letters, BofA

    cloaked its “well respected” customer Wright Brothers in its reputation, enabling the Perpetrators

    to gain the confidence of Plaintiffs.

            A.      The August 2015 Letter

            57.     On August 20, 2015, BofA issued a Letter addressed “To Whom It May Concern”

    (the “August 2015 Letter”):

            I am pleased to furnish a letter of reference regarding the relationship between
            Wright Brothers Aircraft Title, Inc. and Bank of America.

            Wright Brothers Aviation Title, Inc. has maintained a strong banking relationship
            with Bank of America and its predecessors for the past 14 years. All of their
            accounts are in excellent standing. Wright Brothers Aviation Title has authorized
            me to tell you that over $380MM dollars in aviation transactions have passed
            through their accounts in the past 6 months, annualizing at over $760MM. We


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           have never received a complaint having to do with the services they provide to
           their clients.

           If you have any additional questions regarding our relationship with this respected
           aviation title company, you may reach out to me directly.

           58.    The August 2015 Letter was signed by Brandon G. Ellis (“Ellis”), Vice President

    and Business Banking Client Manager at BofA’s financial center located at 211 N. Robinson

    Ave, Oklahoma City, Oklahoma.

           59.    The August 2015 Letter was received by Moncler and Rusty.

           B.     The December 2015 Letter

           60.59. On December 7, 2015, BofA issued a Letter addressed “To Whom It May

    Concern” (the “December 2015 Letter”):

           I am pleased to furnish a letter of reference regarding the relationship between
           Wright Brothers Aircraft Title, Inc. and Bank of America.

           Wright Brothers Aviation Title, Inc. has maintained a strong banking relationship
           with Bank of America and its predecessors for the past 14 years. All of their
           accounts are in good standing. Wright Brothers Aviation Title has authorized me to
           tell you that over $320MM dollars in aviation transactions have passed through
           their accounts in the past 6 months, annualizing at over $640MM.

           If you have any additional questions regarding our relationship with this respected
           aviation title company, you may reach out to me directly.

    The December 2015 Letter was signed by Ellis and included his title, Vice President and

    Business Banking Client Manager, and identified his affiliation with BofA’s financial center

    located at 211 N. Robinson Ave, Oklahoma City, Oklahoma.

           61.    The December 2015 Letter was received by CMG.

           C.     The July 2016 Letter

           62.60. On July 5, 2016, BofA issued a Letter to Mercer-Erwin (the “July 2016 Letter”):



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              Per your request, Wright Brothers Aircraft Title, Inc. has been a customer of Bank
              of America Merrill Lynch since October 18, 2001 and has maintained an aggregate
              average collected deposit balance of $11,818,006.50 over the past twelve months.

              63.61. The July 2016 Letter was signed by Mark Fish (“Fish”), Senior Vice President

    and Business Banking Relationship Manager for BofA.

              64.62. The first page of each of the Wright Brothers’ Trust Account monthly account

    statements reflects the average ledger balance for each corresponding month.

              65.63. The first page of each of the Wright Brothers’ Trust Account monthly statements

    reflects the average ledger balance for the month. BofA’s reference to the “aggregate average

    collected deposit balance of $11,818,006.50” in the July 2016 Letter appears to have been

    calculated accurately based on the average ledger balances for the 12 months identified in the

    letter.

              D.     The January 2017 Letter

              66.64. On January 11, 2017, BofA issued a Letter to Mercer-Erwin (the “January 2017

    Letter”):

              Per your request, Wright Brothers Aircraft Title, Inc. has maintained an aggregate
              average collected deposit balance of $11,648,172.00 over the past twelve months.

              67.65. The January 2017 Letter was signed by Fish, Senior Vice President and Business

    Banking Relationship Manager.

              68.66. The first page of each of the Wright Brothers’ Trust Account monthly statements

    reflects the average ledger balance for the month. BofA’s reference to the “aggregate average

    collected deposit balance of $11,648,172.00” in the January 2017 Letter appears to have been

    calculated accurately based on the average ledger balances for the 12 months identified in the

    letter.



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            E.      The April 2017 Letter

            69.67. On April 27, 2017, BofA issued a Letter (the “April 2017 Letter”) to Mercer-

    Erwin, stating: “Per your request, the total amount of all deposits made into the Wright Brothers

    Aircraft Title, Inc. escrow account in calendar year 2016 was $405,612,916.62.”

            70.68. The April 2017 Letter was signed by Fish, Senior Vice President and Business

    Banking Relationship Manager.

            71.     The April 2017 Letter was received by CMG.

            F.      The February 2018 Letter

            72.69. On February 26, 2018, BofA issued a Letter to Mercer-Erwin (the “February 2018

    Letter”), stating:

            I am pleased to furnish a letter of reference regarding the relationship between
            Wright Brothers Aircraft Title, Inc. and Bank of America.

            Wright Brothers Aviation Title, Inc. has maintained a strong banking relationship
            with Bank of America and its predecessors for the past 17 years. All of their
            accounts are in excellent standing. Wright Brothers Aviation Title has authorized
            me to tell you that their average volume over the last 6 months has been $183MM.
            We have never received a complaint having to do with the services they provide to
            their clients.

            If you have any additional questions regarding our relationship with this well
            respected aviation title company, you may reach out to me directly.

            73.70. The February 2018 Letter was signed by Elizabeth Haralson (“Haralson”), then a

    Relationship Manager in the Business Banking Unit of BofA’s Oklahoma City, Oklahoma office.

            74.     The February 2018 Letter was received by CMG and Rusty.

            G.      The January 2019 Letter

            75.71. On January 24, 2019, BofA issued a Letter addressed “To Whom It May Concern”

    (the “January 2019 Letter”) stating:



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           I am pleased to furnish a letter of reference regarding the relationship between
           Wright Brothers Aircraft Title, Inc. and Bank of America.

           Wright Brothers Aviation Title, Inc. has maintained a strong banking relationship
           with Bank of America and its predecessors for the past 18 years. All of their
           accounts are in excellent standing. Wright Brothers Aviation Title has authorized
           me to tell you that over $257 MM dollars in aviation transactions have passed
           through their account in the past 6 months, annualizing at over $515 MM. We have
           never received a complaint having to do with the services they provide to their
           clients.

           If you have any additional questions regarding our relationship with this well
           respected aviation title company, you may reach out to me directly.

           76.72. The January 2019 Letter was signed by Haralson, then Vice President of Business

    Banking. The January 2019 letter included the address of BofA’s financial center located at 211

    N. Robinson Ave, Oklahoma City, Oklahoma in the footer.

           77.    The January 2019 Letter was received by CMG.

           H.     The March 2019 Letter

           78.73. On March 1, 2019, BofA issued a Letter to Mercer-Erwin (the “March 2019

    Letter”):

           Per your request, Wright Brothers Aircraft Title, Inc. has been a Bank of America
           customer since 10/2001 and has maintained an aggregate average collected balance
           of $25,700,936.26 over the past six months.

           79.74. The March 2019 Letter was signed by Haralson, then Senior Vice President and

    Business Banking Relationship Manager for BofA.


           I.     The August 2019 Letter

           80.75. On August 9, 2019, BofA issued a Letter to Mercer-Erwin (the “August 2019

    Letter”):




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           Per your request, Wright Brothers Aircraft Title, Inc. has been a Bank of America
           customer since 10/2001 and has maintained an average collected balance of
           $33,938,782.00 over the past six months.

           81.76. The August 2019 Letter was signed by Haralson, then Senior Vice President and

    Business Banking Relationship Manager for BofA.

           82.77. The Letters included general and specific representations about the legitimacy,

    stability, and creditworthiness of Wright Brothers, describing BofA’s “strong banking

    relationship” with Wright Brothers, identifying Wright Brothers’ status as “in excellent

    standing,” stating that BofA “had never received a complaint having to do with the services

    [Wright Brothers] provide to their clients,” and providing account information concerning

    aviation transactions. Also, each letter spoke to the legitimacy of Wright Brothers in the aviation

    industry by specifically referring to it as a “well respected aviation title company.”

           83.78. The Letters were widely provided to potential depositors in the Trust Account for

    whom BofA knew the letters were intended. BofA knew that the Letters were being provided

    directly to potential depositors in the Trust Account, such as Plaintiffs, and additionally knew or

    should have known that the substance of the Letters, and the very fact that BofA had issued the

    Letters, was the subject of disclosures and representations to and among potential trust account

    depositors, such as Plaintiffs, who entered into escrow agreements with Wright Brothers and who

    relied on those facts to decide to make deposits into the Trust Account.

           84.79. The letters were “letters of reference,” which were either addressed to Mercer-

    Erwin of Wright Brothers (who did not need to know information already known to her) or “to

    whom it may concern,” and were issued for the purpose of having them reach third parties such

    as Plaintiffs to induce reliance on them. Plaintiffs reasonably understood the letters to be letters

    of reference and relied upon them as such.


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           85.80. BofA did not limit to whom the Letters would be given or disclosed and, on the

    contrary, knew or had reason to know that Mercer-Wright and Machado used the issuance and

    existence of the Letters to lure investors who would deposit escrow funds in the Trust Account.

    In this way, the misrepresentations and misleading statements in the Letters were made directly

    or indirectly to each of the Plaintiffs, each of whom relied upon them.

           86.81. BofA knew that potential parties to escrow agreements with Wright Brothers who

    would deposit funds into the Trust Account but who may not have received the Letters directly

    from BofA were also made aware of the Letters and the information contained therein and relied

    upon the letters to make deposits in the Trust Account.

           82.     Although the Letters were not addressed to Plaintiffs, the Plaintiffs either received

    copies of the Letters or were told about the issuance, existence, and substance of the Letters:.

                   a.      The CMG Plaintiffs received the letter dated December 7, 2015 on March 6, 2016

           by way of an email from Mercer-Erwin. They received the letter dated April 27, 2017. Although

           they do not recall the precise date on which, or from whom, they received this letter, they received

           it before the deposits at issue (and identified below) were made. They received the February 26,

           2018 letter on that date by way of an email from Machado. And they received the January 24, 2019

           letter on that same date, also by way of an email from Machado. In addition, the principal of the

           CMG entities in 2016 to spoke to BofA officer Mark Fish and in 2018 or 2019 to BofA officer

           Elizabeth Haralson (both of whom signed letters) concerning the aircraft transactions, BofA’s

           relationship with Wright Brothers, and the letters, and he advised them that he was depositing

           moneys into the Trust Account to be held in escrow as deposits for aircraft transactions. In reliance

           on the letters and telephone conversations, the CMG Plaintiffs made deposits in the Trust Account

           on November 12, 2019, November 14, 2019, July 8, 2020, August 5, 2020, August 7, 2020, and

           September 1, 2020.



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                  b.       The Rusty Plaintiffs received the August 20, 2015 letter as early as December 2017

          but, in any event, by February 16, 2018, from their representatives who had received the letter from

          Mercer-Erwin in December of 2015. They received the February 26, 2018 letter on that date, just

          days before their first transaction involving Wright Brothers, by way of an email from Mercer-

          Erwin to Christopher Younger. The Rusty Plaintiffs were advised that these letters were consistent

          with other letters BofA had issued endorsing and providing assurances regarding Wright Brothers.

          In reliance on the letters, the Rusty Plaintiffs made deposits into the escrow account on May 18,

          2020, November 12, 2020, and November 25, 2020. But for receiving these letters, the Rusty

          Plaintiffs would not have entered into transactions with Wright Brothers and would not have made

          deposits into the Trust Account.

                  c.       The Moncler Plaintiffs received the August 20, 2015 letter on December 28, 2017

          by way of an email from Machado. In approximately September 2018, a principal of the Moncler

          Plaintiffs spoke with the principal of the CMG Plaintiffs, who informed him of the letters the CMG

          Plaintiffs had received. In addition, in or about 2016, a principal of the Moncler Plaintiffs inquired

          of an officer at BofA as to the bank’s relationship with Wright Brothers, during which he advised

          the officer of the nature of the transactions the Moncler entities were entering into with Wright

          Brothers (i.e., making escrow deposits). A few days later, the BofA officer responded to the

          Moncler representative’s inquiry and advised him that Wright Brothers and Mercer-Erwin were

          longtime clients in good standing, maintained substantial deposits at the bank, enjoyed an excellent

          reputation at the bank, and that the bank had properly operated the Trust Account. In addition every

          time Moncler Plaintiffs made a deposit, Mercer-Erwin and/or Machado referenced the fact that

          BofA, where the deposits were being held, had issued letters of reference/comfort on behalf of

          Wright Brothers. In reliance on the letters and the conversations, the Moncler Plaintiffs made

          deposits into the escrow account on February 6, 2020, April 16, 2020, April 29, 2020, May 18,

          2020, July 31, 2020, and November 20, 2020.

                  d.       In or about August 2017, in the course of conducting due diligence on Wright


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           Brothers, the Bayside Plaintiff’s representative was advised by a Moncler principal that BofA had

           issued letters in which it endorsed and recommended Wright Brothers. Specifically, he was advised

           that Moncler had received from an officer of BofA an endorsement of Wright Brothers, including

           that Wright Brothers and Mercer-Erwin were longtime clients in good standing, maintained

           substantial deposits at the bank, and enjoyed an excellent reputation at the bank and that the bank

           had properly operated the Trust Account.         In or about January 2018, Plaintiff Bayside’s

           representative was advised by Plaintiff Moncler’s representative of a letter issued by BofA, which

           letter was quoted in part and provided an endorsement and recommendation of Wright Brothers. In

           addition, prior to making the deposits at issue in this case, Machado repeatedly advised Plaintiff

           Bayside that other aircraft finance participants had confirmed the trustworthiness of Wright

           Brothers through BoA, including by way of the letters. In reliance on these conversations about

           BofA’s issuance of the reference and comfort letters, the Bayside Plaintiffs made deposits into the

           escrow account on July 6, 2020 and September 11, 2020.

                   e.       No later than May 14, 2020, and before their first deposit into the Trust Account,

           they were advised by Machado that BofA had issued the letters, in which it vouched for Wright

           Brothers, including by providing financial information reflecting the favorable financial condition

           of the company, its strong relationship with BofA, and its good reputation in the aviation finance

           industry.    In reliance on these conversations about the reference and comfort letters, the

           CCUR/Edidin Plaintiffs made deposits into the escrow account on May 14, 2020, August 27, 2020,

           August 28, 2020, November 13, 2020, and November 27, 2020.

           87.

    V.     The Letters Were Materially False and Misleading

           88.83. The Letters were materially false, contained material omissions that rendered

    them misleading, and misrepresented information about Wright Brothers’ accounts, including

    account activity and balances:


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                   a.     The August 2015 Letter, the December 2015 Letter, and the January 2019

    Letter were misleading because they failed to disclose facts necessary to make them complete

    and accurate. Disclosure of the amount of funds withdrawn from the Account was necessary to

    make the disclosure of the “passed through” amount not misleading to those contemplating

    depositing their escrow funds in the Trust Account.

                   b.     The August 2015 Letter, the December 2015 Letter, and the January 2019

    Letter were false as to the representation that the referenced fund volumes were in connection

    with “aviation transactions” when, in fact, the volumes included funds not related to aviation

    transactions and included funds that were deposited as a result of the Ponzi scheme and thus were

    not funds deposited or used in connection with real aviation transactions.

                   c.     The April 2017 Letter was misleading because it failed to disclose the

    amount of withdrawals or transfers from the Trust Account or the nature and timing of those

    withdrawals and transfers. This information was necessary to make the disclosure as to the

    amount of deposits not misleading to a potential depositor in the Trust Account who relied on the

    letter as a representation that Wright Brothers complied with its escrow obligations. Had the

    omitted information been disclosed, it would have revealed that the deposits into the Trust

    Account were not, in fact, maintained in a manner consistent with funds held in escrow.

                   d.     The February 2018 Letter was misleading with respect to its reference to

    an “average volume” because BofA failed to disclose what constituted “volume.” To the extent

    the term “volume” referred to credits and deposits, the statement was false. According to BofA’s

    bank statements, Wright Brothers had a total, not an average, volume of $183 million in credits

    and deposits during that time period. This numerical representation was thus not the result of

    clerical error. It was, instead, calculated by adding up the total deposits for a six-month period



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    and not an “average.” The average amount in the Account during that time period was in fact

    around $31.5 million, or only approximately one-fifth of the $183 million represented in the

    letter.

                     e.   The March 2019 Letter and the August 2019 Letter were misleading

    because, in representing the amount of the “average collected balance,” BofA failed to disclose

    that it had applied a methodology different than the one used to calculate the amounts in the

    January 2017 Letter and the April 2017 Letter, which used a methodology tied to the average

    ledger balance that appears on each monthly statement for the Trust Account. Using the previous

    methodology, Wright Brothers’ true “aggregate average collected balance” during the six-month

    period specified in the March 2019 Letter was only $11,220,149.21, less than half the

    $25,700,936.26 represented in the letter. And using the previous methodology, Wright Brothers’

    true “aggregate average collected balance” during the six-month period specified in the August

    2019 letter would be $5,664,940. This was also not the result of clerical error. BofA later

    confirmed that the two letters were accurate after they had been received by a depositor in the

    Trust Account. Rather than calculating the “average collected balance” based on the average

    ledger balances reflected on the monthly account statements, it appears BofA added the total

    deposits in the first and last month of the referenced period and divided that number by two. This

    is not an accepted methodology for banks to calculate the average collected balance in an account

    and is contrary to BofA’s own internal definition of the term “collected balance.” In addition,

    BofA failed to disclose the material fact that it had calculated the information in the March 2019

    Letter and the August 2019 Letter in a manner different from that it had used with respect to the

    prior Letters.




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            89.84. BofA has denied that Wright Brothers maintained a “trust” or “escrow” account

    with Bank of America. If that is so, the April 2017 Letter was materially false in that it explicitly

    referred to the Trust Account as an “escrow account.”

            90.85. In addition, the Letters were false in representing that Wright Brothers

    “maintained a strong banking relationship with Bank of America,” that Wright Brothers’

    “accounts are in excellent standing,” and that Wright Brothers was a “well respected aviation title

    company.” BofA was in possession of information that belied the representations, including

    information that established that Wright Brothers was not treating the funds in the Trust Account

    as escrow funds, which BofA knew was the nature of those funds.

            91.86. The Letters that were issued by Haralson adopted a new methodology inconsistent

    with the methodology used in prior letters and inconsistent with BofA’s internal processes,

    policies, and practices. The effect was to grossly inflate the balance of the Trust Account over

    several years. Nothing about the Letters was a “routine banking service.”

            92.87. BofA’s assertion in its answer to Metrocity’s complaint that the account was not

    a trust account flies in the face of the label on the account, and the reference in at least one of the

    letters to the account as an escrow account. Those are blatantly false representations if the Bank

    did not consider the account a “trust account.”

            93.88. As the institution maintaining the Trust Account, BofA knew that this information

    in the Letters was false and inaccurate or misleading. The representations concerning the Trust

    Account were critical to Plaintiffs’ decision to pay the deposits because they provided Plaintiffs

    with assurances and verification that the Trust Account was secure and contained more than

    sufficient funds to pay back their escrowed deposits, and further communicated that Wright

    Brothers was engaged in a legitimate aircraft financing operation.


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    VI.     The Letters Violated BofA’s Internal Policies

            94.89. BofA maintains what it refers to as a “Formal Letters & Correspondence” policy

    (the “Letters Policy”). The Letters Policy sets forth “detailed procedures” to “ensure” that letters

    sent by BofA “are suitable to the situation and follow appropriate protocols.” BofA employees

    are required to “understand and implement the procedure” set forth in the Lettes Policy and BofA

    managers are required to “ensure all employees understand the procedure and incorporate the

    procedure into daily routines.”

            95.90. According to the Letters Policy, letters written at the request of bank clients “must

    have consistent content to eliminate or reduce risk to the bank” and “must comply with

    policies/standards/procedures. The Letters Policy prohibited BofA employees from sending out

    letters “outside of the scope of defined procedures … without contacting Contract Management.”

            96.91. At the time the Letters were issued, the Letters Policy provided, among other

    things, that:

                    a.     “Customized letters must contain only objective facts, such as the length

    of the Bank’s relationship with the client, average amounts maintained on deposit with the Bank,

    e.g., mid-six figure range, and amount of credit commitments.”

                    b.     “Opinions or other subjective assessments, e.g., the client is reliable, able

    to complete a transaction, or has any particular expertise or capability, must be avoided.”

                    c.     “A letter should never be addressed “To Whom It May Concern.”

                    d.     Letters “cannot contain subjective value judgments or opinions about the

    customer, its ability to complete a proposed business transaction or other matters beyond the

    knowledge or control of the Bank.”




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                   e.      “All information in the letter must be accurate as of the date of the letter

    and be restricted to facts or information that the Bank is able to verify.”

                   f.      “The request [for the letters] must be related to an identifiable purpose,

    project/contract, or be trade related.”

                   g.      “Letters must be signed by an AVP or above.”

           97.92. The Letters Policy provided that “[t]he appropriate procedure should be followed

    EACH TIME a letter is needed,” and that “[w]hen an established procedure or process does not

    cover the specific need, client teams should engage Contract Management.” The Letters Policy

    admonished that, in this event, BofA client teams should not “draft their own letters.”

           98.93. The Letters Policy’s requirement that letters “must be related to an identifiable

    purpose” required that BofA issue a letter only if it was aware of the letter’s “purpose.”

           99.94. The Letters Policy’s requirement that letters be “restricted to facts or information

    that the Bank is able to verify” required that BofA issue a letter only if it was able verify the

    information in the Letters by reviewing the Account records.

           100.95. Aside from the factual falsehoods in the Letters – and perhaps because of the

    factual falsehood in the Letters – the contents and issuance of the Letters violated the Letters

    Policy, which shows that BofA was aware that the Letters were requested in connection with

    wrongful activity with respect to the Account.

           101.96. Because the Letters violated the Letters Policy, they were not “a transaction in the

    ordinary course of business” and their issuance constituted conduct that was atypical or lacked

    business justification, thus allowing for an inference of knowledge by BofA.

    VII.   BofA Ignored and Failed to Disclose Material Information About the Trust Account




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           102.97. BofA reviewed the account statements to prepare the letters and, in doing so, had

    knowledge of the unusual activity and large withdrawals from the Trust Account and knew that

    that activity was not consistent with a trust account holding escrow funds, particularly given its

    knowledge of the Escrow Agreements Wright Brothers entered into with Plaintiffs.

           103.98. In particular, BofA’s knowledge about Wright Brothers’ business and role as an

    escrow agent, along with the nature of the Trust Account and the deposits made to that account,

    meant that BofA knew that the account’s activity was unusual and suspicious. Indeed, in some

    instances, the monies were transferred out of the Trust Account on the same day they were

    deposited, an event flatly inconsistent with the nature of the account as known to BofA. And

    often, the amounts were paid out in a manner also flatly at odds with the fact the monies paid into

    the accounts were deposits to be held in escrow pending the consummation of an aviation

    transaction.

           104.99. BofA is a sophisticated national bank that routinely sets up, maintains, and

    monitors escrow and trust accounts, and thus knew that the withdrawals from the Trust Account

    were not consistent with the nature of escrowed deposit funds in the aviation industry and,

    specifically, Wright Brothers’ business of providing escrow services to Plaintiffs. Yet BofA

    failed to disclose such information concerning the activity of the Trust account and Plaintiffs

    were harmed by BofA’s omission.

           105.100.        BofA knew that the Trust Account held escrow funds. As a result of its

    sophisticated monitoring system, BofA knew that Wright Brothers was not treating the funds in

    the Trust Account as escrow funds would be treated as part of an aviation transaction. On the

    contrary, BofA knew that the funds were being disbursed to persons other than the depositors and

    were being disbursed in amounts different than the deposits, a clear indication that the escrow




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    funds were being misappropriated. For example, Wells Fargo sent BofA the “314(b) Information

    Sharing Request” concerning a potentially fraudulent $250,000 wire from Wright Brothers to a

    Wells Fargo customer by the name of Alfredo Barba Mariscal, asking BofA “what funded the

    [$250,000] wire issued by Wright Brothers Aircraft Title, Inc.” BofA responded by identifying

    numerous entities, including “Chemtov Mortgage Group dba CMG,” the manager of the CMG

    Plaintiffs. Yet, BofA knew that the escrow funds paid by the CMG entities were not to be paid

    to third parties such as Mariscal. They were to be returned to the depositing CMG entity. BofA

    thus knew that Wright Brothers was misappropriating the escrow funds in the Trust Account.

            106.101.        In view of the knowledge on the part of BofA concerning the nature of the

    Trust Account, the nature of Wright Brothers business, and the misuse of Trust Account funds,

    the issuance of the Letters was atypical conduct lacking business justification and not done in the

    ordinary course of its business.

            107.102.        BofA intentionally ignored, was willfully blind to, recklessly ignored, or

    failed to exercise reasonable care with regard to its knowledge of activity in the Trust Account

    that it knew was irregular and suspicious activity, that it had to review to send the letters it issued,

    and not consistent with the nature of the account, including through the use of suspicious activity

    alerts, in the course of its management of the Trust Account. As a result, BofA omitted material

    information in its representations about the Trust Account with respect to the activity in the

    account before, during, or after the provision of the Letters.

            108.103.        Nor was this a matter of BofA failing to “investigate” suspicious activity.

    BofA had all of the facts. BofA knew that (a) Wright Brothers was an aviation escrow agent, (b)

    Wright Brothers was providing escrow services to Plaintiffs, (c) the funds deposited in the Trust

    Account were escrow funds, (d) Wright Brothers thus owed Plaintiffs a fiduciary duty, (e)




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    withdrawals or transfers from the Account were to parties other than the Plaintiffs, in violation

    of aviation escrow agreements (including those with Plaintiffs), and in amounts different that the

    escrow amounts deposited into the Trust Account. BofA thus had actual knowledge that Wright

    Brothers was misappropriating the escrow funds.

           109.104.        Alternatively, BofA intentionally ignored and was willfully blind to these

    facts, all of which were in its possession and which reflected, at a minimum, a high probability

    that the escrow funds were being misappropriated. Yet, BofA took deliberate action to avoid

    learning the facts, including when it reviewed the Trust Account data when it wrote the Letters.

    VIII. In Reliance on BofA’s False and Misleading Letters, Plaintiffs Deposited Funds into
          the Trust Account and Were Thereby Defrauded

           110.105.        BofA knew or had reason to know that the Letters and the information in

    them would be provided, directly or indirectly, to third parties to solicit business for Wright

    Brothers. Thus, BofA intended that the Letters and the information in them, in addition to the fact

    that BofA was vouching for Wright Brothers, would be communicated, directly or indirectly, to

    third parties such as Plaintiffs. In so doing, BofA intended that potential depositors, including

    Plaintiffs, would rely upon the letters themselves as BofA’s stamp of approval to conduct

    business with Wright Brothers. Further, BofA necessarily intended that potential depositors, like

    Plaintiffs, would rely upon all the information contained within those letters when deciding to

    entrust their deposits to Wright Brothers’ BofA accounts.

           111.106.        Moreover, Moncler also had a 30-year professional relationship with BofA

    and enjoyed friendly and familiar professional relationships with several high-level officials

    within BofA’s private banking organization. Because of this long-standing relationship, in or

    about 2016, and prior to deciding to conduct commercial aircraft transactions with Wright

    Brothers and Mercer-Erwin, Moncler inquired with one particular high-level official in BofA’s



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    private banking organization as to BofA’s relationship with Wright Brothers. A few days after

    the inquiry, the high-level official responded that Wright Brothers and Mercer-Erwin were

    longtime clients in good-standing, that they maintained substantial deposits at BofA’s bank, and

    that Wright Brothers and Mercer-Erwin enjoyed an excellent reputation at BofA’s bank.

    Following these assurances, Moncler agreed to conduct commercial aircraft transactions with

    Wright Brothers which entailed depositing substantial sums in the Trust Account.

            112.107.        In another instance, this one in 2016, CMG communicated with BofA to

    confirm the information contained in one of the Letters and, in response, BofA confirmed the

    information but omitted disclosure of material information concerning the activity in the Trust

    Account, which information was required to render the letter not misleading.

            113.108.        Plaintiffs reasonably relied on the fact of BofA’s Letters as well as the

    false and misleading statements and assurances contained within BofA’s Letters when Plaintiffs

    entered into the Escrow Agreements with Wright Brothers and deposited funds into the Trust

    Account. Plaintiffs would not have made the payments into the Trust Account but for being

    provided or otherwise being informed of BofA’s issuance of the Letters.

            114.109.        BofA played a critical role in perpetuating and facilitating a wide-spread

    scheme to defraud Plaintiffs and to steal at least $167 million from Plaintiffs, while itself profiting

    from its own misconduct. All of the acts taken by BofA’s employees alleged herein were taken

    within the course and scope of their employment and with apparent authority.

                                   FIRST CAUSE OF ACTION
                               FRAUDULENT MISREPRESENTATION

            115.110.        Plaintiffs incorporate the allegations in paragraphs 1 through 114 above as

    though fully set forth herein.




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           116.111.        Through its Letters, BofA knowingly and directly or indirectly made to

    Plaintiffs material representations of existing fact that were false and, further, knowingly omitted

    disclosing material information required to make its disclosure of facts to Plaintiffs complete,

    accurate, and not misleading.

           117.112.        BofA also knowingly omitted from each of the Letters material

    information, including about activity in the Trust Account such as payments that BofA knew

    were in respect of timing and payees inconsistent with the Trust Account, which information was

    material to make its representations not misleading.

           118.113.        BofA intended – and caused – its Letters and the information in them to

    be widely provided, directly or indirectly, to parties, including Plaintiffs, that were potential

    depositors in the Trust Account as a result of entering into escrow agreements with Wright

    Brothers. BofA intended – and caused – its Letters to make representations that would reasonably

    cause Trust Account depositors, including Plaintiffs, to believe that Wright Brothers could be

    trusted to safeguard large sums of money placed in the Trust Account. To the extent BofA

    maintains the account was not a Trust Account, it misrepresented the nature of the account by

    allowing the account to be labeled as such and by referring to the account as a Trust Account in

    at least one of the Letters. And BofA intended that its Letters would reasonably cause direct or

    indirect third-party recipients, including Plaintiffs, to rely upon BofA’s “Letter of Reference” as

    BofA’s recommendation of Wright Brothers as a trustworthy custodian of funds deposited into

    the Trust Account.

           119.114.        Applicable banking regulations, as well as BofA’s own internal policies

    and procedures, required BofA to conduct due diligence on a customer and its accounts before

    drafting letters including information about that customer and its accounts.




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           120.115.        Applicable banking regulations, as well as BofA’s own internal policies

    and procedures, required BofA to review the actual balances in Wright Brothers’ accounts before

    drafting letters that included specific representations about the account balances.

           121.116.        BofA complied with its internal and external obligations and, as such,

    BofA knew or should have known the information stated in the Letters was false and inaccurate

    or was otherwise rendered misleading by virtue of omissions of other material information.

           122.117.        Alternatively, if BofA did not comply with the obligations to review the

    actual account balances and the nature of the transactions in the account before making

    representations about those balances and transactions, BofA was willfully blind or reckless in

    making the representations and omissions.

           123.118.        BofA’s Letters, as well as the false and misleading representations therein

    and omissions therefrom, were material and issued with the intent that potential Trust Account

    depositors, including Plaintiffs, would consider and rely upon them. BofA intended that third

    parties would rely – and Plaintiffs did in fact rely – upon BofA’s provision of the Letters and the

    contents therein, including BofA vouching for Wright Brothers as a good business partner that

    had not engaged in any suspicious activity, the account balances, the dollar amounts of the

    transactions in Wright Brothers’ accounts, and BofA’s assurances that those transactions were

    indeed “aviation transactions.”

           124.119.        As a direct and proximate result of BofA’s fraud, Plaintiffs sustained

    actual damages in an amount in excess of $167 million.

                                       SECOND CAUSE OF ACTION
                                     AIDING AND ABETTING FRAUD

           125.120.        Plaintiffs incorporate the allegations in paragraphs 1 through 114 above as

    though fully set forth herein.



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           126.121.        Wright Brothers opened and labeled the bank account at Bank of America

    a “trust account,” and BofA titled and described the account as a “trust account” in bank

    statements.

           127.122.        The Perpetrators induced Plaintiffs to deposit funds into the Wright

    Brothers Trust Account based on the materially false statements and material omissions in the

    Letters. In reliance upon those misrepresentations and omissions, Plaintiffs deposited their money

    in the Trust Account maintained by BofA. Notwithstanding the terms of Plaintiffs’ Escrow

    Agreements, Plaintiffs’ fully refundable deposits were not returned to them when the agreed upon

    conditions of the aircraft purchase transactions were not completed by the required dates. Instead,

    Plaintiffs’ refundable deposits were wrongfully withdrawn from the Trust Account and diverted

    to the Perpetrators for their own purposes, including to “compensate” Wright Brothers for its

    participation in the Ponzi scheme.

           128.123.        In order to comply with its obligations under the BSA, including the

    “Know Your Client” requirements, BofA implemented programs that detect suspicious activity,

    as defined by the BSA and other pertinent statutes. Suspicious activity also must be reported to

    the appropriate authority and reporting protocols must be clearly documented and disseminated

    throughout BofA’s organization, meaning that BofA had knowledge and a duty to report such

    activity. BofA is also required to make clear to all employees that everyone in the organization

    must play a role in maintaining compliance.

           129.124.        BofA, a sophisticated national bank that routinely sets up, maintains, and

    monitors escrow and trust accounts, and which must comply with its obligations under the BSA,

    thus had information that the Perpetrators’ withdrawals from the Trust Account were, at a

    minimum, irregular and suspicious and inconsistent with the nature of the transactions in which




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    Plaintiffs engaged with Wright Brothers. BofA thus had actual knowledge of that Wright Brothers

    was misusing the escrow funds in the Trust Account.

           130.125.        BofA is also obligated, according to its own Letters Policy, to include only

    facts and information that can be verified. Accordingly, BofA had to have reviewed the Trust

    Account statements and activity to be able to draft the Letters or it deliberately declined to review

    the information in its possession. In either case, whether BofA saw the unusual Trust Account

    activity and drafted materially false Letters or failed to review the activity and blindly issued the

    Letters, BofA is properly charged with knowledge of the suspicious activity.

           131.126.        Additionally, and assuming BofA’s assertions concerning the nature of the

    account are correct, in reviewing the Trust Account statements, BofA would have had to note

    that the account—though labeled a Trust Account—was, in fact, a demand deposit account.

    Therefore, even if its status as a demand deposit account made the volume of deposits and

    withdrawals somehow unremarkable, the false “Trust Account” must have been deliberately

    ignored by BofA staff, who are familiar with the proper labeling and functioning of trust

    accounts.

           132.127.        Stated differently, BofA purposefully ignored this information in its

    possession and was thus willfully blind as to the fraudulent activity because the information in

    its possession disclosed the high likelihood of wrongdoing in connection with the Trust Account.

           133.128.        BofA took the affirmative step of drafting the account verification letters

    and then providing those letters to Wright Brothers, knowing that Wright Brothers would supply

    the letters to third parties to be used to persuade Trust Account Depositors, like Plaintiffs, to

    deposit funds into the Trust Account.




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            134.129.        Because BofA wrote letters about the account activity—repeated letters—

    it clearly had to look at the activity in the account. To then not note the withdrawals on the same

    day as funds were deposited, and other activity inconsistent with an escrow account was to be

    willfully blind, which must be treated as equivalent to knowledge.

            135.130.        The account statements showed that the withdrawals and transfers from

    the Trust Account were in violation of the escrow agreements between Wright Brothers and

    Plaintiffs because the funds were transferred to persons other than depositors in the Trust Account

    and in amounts different than those deposited by the depositors, including Plaintiffs, which BofA

    knew violated the terms of Wright Brothers’ escrow agreements and escrow agreements in

    aviation transactions generally.

            136.131.        The provision of the Letters to Wright Brothers was not a typical banking

    activity. While BofA may issue reference letters, the letters are subject to stringent criteria and

    requirements, including that: they be “accurate” and “be restricted to facts or information that the

    Bank is able to verify”; they not contain “opinions or other subjective assessments,” such as that

    the “client is reliable, able to complete a transaction, or has any particular expertise of capability”;

    and they never be addressed to “To Whom It May Concern.” The Letters violated every one of

    these proscriptions and were anything but “typical banking activity.” The Letters also lacked a

    business justification. There is no legitimate business justification for issuing Letters that contain

    false statements.

            137.132.        BofA knowingly and substantially assisted, enabled, and facilitated the

    commission of Wright Brothers’ fraud by providing, at least, nine separate letters over a five-

    year span, specifically targeted to persuade Trust Account Depositors, like Plaintiffs, to deposit

    their funds into the Trust Account.




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            138.133.         BofA knowingly and substantially assisted, enabled and facilitated the

    commission of the Perpetrators’ fraud by failing to adhere to international, federal, local and

    internal regulatory banking procedures and policies.

            139.134.         BofA substantially assisted, enabled and facilitated the Perpetrators’ fraud

    through its willful blindness to the pattern of suspicious activity in connection with the Trust

    Account.

            140.135.         BofA should have suspended or terminated the Trust Account based on

    the activity in the Trust Account or refrained from providing the false and misleading Letters, or

    provided Letters that were truthful and complete. Had BofA done so, Plaintiffs would not have

    deposited their funds in the Wright Brothers Trust Account and had their money stolen.

            141.136.         BofA’s conduct caused Plaintiffs actual damages in excess of $167

    million.

                                THIRD CAUSE OF ACTION
                    AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

            142.137.         Plaintiffs incorporate the allegations in paragraphs 1 through 114 above as

    though fully set forth herein.

            143.138.         A fiduciary relationship existed between Wright Brothers and Plaintiffs,

    as parties to the Escrow Agreements.

            144.139.         As the escrow agent, Wright Brothers owed fiduciary duties to Plaintiffs

    and was only permitted to act in accordance with the terms of the Escrow Agreements and in the

    best interests of Plaintiffs.

            145.140.         Wright Brothers breached its fiduciary duties by removing Plaintiffs’ fully

    refundable deposits from the Trust Account, in direct violation of the terms of the Escrow

    Agreements.



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           146.141.        Wright Brothers breached its fiduciary duties by not acting in Plaintiffs’

    best interests when Wright Brothers diverted Plaintiffs’ Escrow Funds to Machado or Machado-

    designated entities.

           147.142.        The Trust Account was labeled and described as a trust account at BofA’s

    bank. BofA knew that Wright Brothers owed a fiduciary duty to the Trust Account Depositors,

    and BofA’s bank would have required and maintained the related escrow agreements as part of

    its procedures when opening an escrow and trust account.

           148.143.        If BofA complied with its legal obligations under the BSA, BofA would

    have detected and been aware of the suspicious activity in the Trust Account over, at a minimum,

    a five- year period, through its automated account monitoring systems evidencing Wright

    Brothers’ breach of its fiduciary duties owed to Plaintiffs.

           149.144.        If BofA had detected and reported the suspicious activity in the Trust

    Account, according to its obligations under the BSA, the Trust Account would have been

    suspended or terminated before Plaintiffs engaged in the subject transactions, including before

    they made deposits into the Trust Account.

           150.145.        As alleged above in paragraphs 42 and 43, BofA had actual knowledge of

    Wright Brothers’ breach of fiduciary duties owed to Plaintiffs.

           151.146.        Further, as alleged in paragraphs 45 through 52, BofA had strict policies

    which should have caused it to make reasonable inquiries into the suspicious activity which

    clearly showed Wright Brothers’ breach of its fiduciary duties to Plaintiffs. As a result, BofA

    was willfully blind as to Wright Brothers’ breach of fiduciary duties by intentionally failing to

    make reasonable inquiries, as required by the BSA, when faced with the suspicion or awareness

    of the high likelihood of wrongdoing in connection with the Trust Account.




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            152.147.       BofA knowingly and substantially assisted, enabled, and facilitated the

    Wright Brothers’ breach of fiduciary duties owed to Plaintiffs by providing, at least, nine separate

    letters over a five-year span, specifically targeted to persuade Trust Account Depositors, like

    Plaintiffs, to deposit their funds in the Trust Account.

            153.148.       BofA knowingly and substantially assisted, enabled, and facilitated

    Wright Brothers’ breach of fiduciary duties owed to Plaintiffs by failing to adhere to

    international, federal, local, and internal regulatory banking procedures and policies.

            154.149.       BofA substantially assisted, enabled, and facilitated Wright Brothers’

    breach of fiduciary duties owed to Plaintiffs through its willful blindness to the pattern of

    suspicious activity in connection with the Trust Account.

            155.150.       BofA’s conduct caused Plaintiffs actual damages in excess of $167

    million.

                                  FOURTH CAUSE OF ACTION
                              AIDING AND ABETTING CONVERSION

            156.151.       Plaintiffs incorporate the allegations in paragraphs 1 through 114 above as

    though fully set forth herein.

            157.152.       The Trust Account was opened, labeled, and described as a trust account

    by BofA. BofA knew that the Trust Account held funds belonging to Plaintiffs or depositors like

    Plaintiffs.

            158.153.       From its review of the account statements and account activity that it

    conducted in connection with the Letters, BofA knew that Wright Brothers was converting funds

    belonging to others, including Plaintiffs.

            159.154.       BofA also detected and was aware of the suspicious activity in the Trust

    Account over, at a minimum, a four-year period, through its policies and procedures, including



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    its anti-money laundering compliance program and its automated account monitoring systems,

    further evidencing BofA’s knowledge that Wright Brothers was converting funds belonging to

    depositors in the Trust Account, including Plaintiffs.

            160.155.       Thus, BofA had actual knowledge of Wright Brothers’ conversion of

    Plaintiffs’ funds.

            161.156.       In the alternative, BofA was willfully blind as to Wright Brothers’

    conversion by intentionally ignoring information in its possession when faced with circumstances

    that showed a high likelihood of wrongdoing in connection with the Trust Account, and

    notwithstanding that BofA took the affirmative step of issuing the Letters and then providing

    them to Wright Brothers knowing that Wright Brothers would, in turn, supply to, or use with

    respect to, third parties such as Plaintiffs to persuade them to deposit their funds in the Trust

    Account.

            162.157.       Bank of America knowingly and substantially assisted, enabled, and

    facilitated Wright Brothers’ conversion by providing, at least, nine separate letters over a four-

    year span, specifically targeted to persuade Trust Account Depositors, like Plaintiff, to deposit

    their funds in the Trust Account.

            163.158.       Bank of America should have suspended or terminated the Trust Account

    based on the activity occurring in the account, or, at a minimum, Bank of America should have

    refrained from providing materially false and misleading Comfort Letters and Balance

    Verification Letters with respect to Wright Brothers and the Trust Account and should have

    included all material information that was omitted. Had Bank of America done any of those

    things, then Plaintiff would not have deposited its funds in the Bank of America Trust Account,

    and the money would not have been stolen.




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           164.159.        Bank of America knowingly and substantially assisted, enabled, and

    facilitated Wright Brothers’ conversion of Plaintiff’s monies by, among other things, (i) failing

    to adhere to international, federal, local, and internal regulatory banking procedures and policies,

    (ii) by failing to prevent the misappropriation and theft of Plaintiff’s funds deposited into the

    Trust Account, and (iii) by providing the Comfort Letters and the Balance Verification Letters

    (that it knew or was willfully blind to the fact were materially false and omitted material

    information).

           165.160.        In addition, Bank of America substantially assisted, enabled, and

    facilitated Wright Brothers’ conversion through its willful blindness to the pattern of suspicious

    activity in connection with the Trust Account.

           166.161.        Bank of America played a critical role in allowing the Fraudsters to

    perpetrate and perpetuate a wide-spread scheme to defraud Plaintiff and convert its monies while

    profiting from its own misconduct.

           167.162.        Bank of America’s conduct described herein caused Plaintiff actual

    damages in an amount to be proven at trial, but which are in excess of $167,000,000.

                                        FIFTH CAUSE OF ACTION
                                     NEGLIGENT MISREPRESENTATION

           168.163.        Plaintiffs incorporate the allegations in paragraphs 1 through 114 above as

    though fully set forth herein.

           169.164.        In the Letters, BofA directly or indirectly made to Plaintiffs material

    representations of facts that were false and omitted material information required to make its

    disclosures to Plaintiffs complete, accurate and not misleading.

           170.165.        BofA also knowingly omitted from each of the Letters material

    information, including about activity in the Trust Account such as payments that BofA knew



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    were inconsistent with the Trust Account (in respect of timing and payees), which information

    was material to make its representations accurate, true, and not misleading.

           171.166.        BofA’s Letters were intended by BofA to be – and were, in fact – widely

    provided, directly or indirectly, to potential Trust Account Depositors, including Plaintiffs.

    BofA’s letters intended to – and did – make representations that reasonably caused the Plaintiffs

    to believe that Wright Brothers could be trusted to safeguard large sums of money placed in the

    Trust Account.

           172.167.        Applicable banking regulations, as well as BofA’s own internal policies

    and procedures, required BofA to conduct due diligence on a customer and its accounts before

    drafting letters including information about that customer and its accounts.

           173.168.        Applicable banking regulations, as well as BofA’s own internal policies

    and procedures, required BofA to review the actual balances in Wright Brothers’ accounts before

    drafting letters that included specific representations about the account balances.

           174.169.        BofA complied with its internal and external obligations and, as such,

    BofA knew or should have known the information in the Letters was false and inaccurate or was

    otherwise rendered misleading by virtue of omissions of material information.

           175.170.        Alternatively, if BofA did not comply with the obligations to review the

    actual account balances and the nature of the transactions in the account before making

    representations about those balances and transactions, BofA was willfully blind or reckless in

    making the representations and omissions.

           176.171.        BofA’s false and misleading representations were material and issued with

    the intent that potential Trust Account depositors, including Plaintiffs, would consider and rely

    upon the information contained in the Letters, in addition to relying on BofA’s vouching for




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    Wright Brothers. Plaintiffs relied upon BofA’s provision of the Letters and the contents thereof,

    including the balance and transaction amounts, BofA’s assurances that those amounts related to

    aviation transactions, and BofA’s vouching for Wright Brothers as a trustworthy business partner

    that would appropriately safeguard the funds deposited into the Trust Account.

           177.172.        BofA’s false and misleading representations were material and issued with

    the intent that Plaintiffs would consider and rely upon the information. Plaintiffs relied upon

    BofA’s provision of the Letters, the information in the Letters, and BofA’s vouching for Wright

    Brothers to make payments into the Trust Account.

           178.173.        As a direct and proximate result of BofA’s misrepresentations and

    omissions, Plaintiffs sustained actual damages in an amount in excess of $167 million.

                             SIXTH CAUSE OF ACTION
              VIOLATION OF SECTION 552, RESTATEMENT (TORTS) SECOND

           179.174.        Plaintiffs incorporate the allegations in paragraphs 1 through 114 above as

    though fully set forth herein.

           180.175.        In the Letters, BofA directly or indirectly made to Plaintiffs material

    representations of facts that were false and omitted material information required to make its

    disclosures to Plaintiffs complete, accurate and not misleading.

           181.176.        BofA also knowingly omitted from each of the Letters material

    information, including about activity in the Trust Account such as payments that BofA knew

    were inconsistent with the Trust Account (in respect of timing and payees), which information

    was material to make its representations accurate, true, and not misleading.

           182.177.        BofA’s Letters were intended by BofA to be – and were, in fact – widely

    provided, directly or indirectly, to potential Trust Account Depositors, including Plaintiffs.

    BofA’s letters intended to – and did – make representations that reasonably caused the Plaintiffs



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    to believe that Wright Brothers could be trusted to safeguard large sums of money placed in the

    Trust Account.

           183.178.        Applicable banking regulations, as well as BofA’s own internal policies

    and procedures, required BofA to conduct due diligence on a customer and its accounts before

    drafting letters including information about that customer and its accounts.

           184.179.        Applicable banking regulations, as well as BofA’s own internal policies

    and procedures, required BofA to review the actual balances in Wright Brothers’ accounts before

    drafting letters that included specific representations about the account balances.

           185.180.        BofA complied with its internal and external obligations and, as such,

    BofA knew or should have known the information in the Letters was false and inaccurate or was

    otherwise rendered misleading by virtue of omissions of material information.

           186.181.        Alternatively, if BofA did not comply with the obligations to review the

    actual account balances and the nature of the transactions in the account before making

    representations about those balances and transactions, BofA was willfully blind or reckless in

    making the representations and omissions.

           187.182.        BofA’s false and misleading representations were material and issued with

    the intent that potential Trust Account depositors, including Plaintiffs, would consider and rely

    upon the information contained in the Letters, in addition to relying on BofA’s vouching for

    Wright Brothers. Plaintiffs relied upon BofA’s provision of the Letters and the contents thereof,

    including the balance and transaction amounts, BofA’s assurances that those amounts related to

    aviation transactions, and BofA’s vouching for Wright Brothers as a trustworthy business partner

    that would appropriately safeguard the funds deposited into the Trust Account.




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            188.183.       BofA’s false and misleading representations were material and issued with

    the intent that Plaintiffs would consider and rely upon the information. Plaintiffs relied upon

    BofA’s provision of the Letters, the information in the Letters, and BofA’s vouching for Wright

    Brothers to make payments into the Trust Account.

            189.184.       BofA in the course of its business and in connection with transactions in

    which it had a pecuniary interest supplied false information for the guidance of Plaintiffs, whom

    BofA intended would rely upon the guidance in their business transactions with Wright Brothers.

    In doing so, BofA failed to exercise reasonable care or competence in communicating the

    information.

            190.185.       As a direct and proximate result of BofA’s breach of duty, Plaintiffs

    sustained actual damages in an amount in excess of $167 million.

                                     SEVENTH CAUSE OF ACTION
                                           NEGLIGENCE

            191.186.       Plaintiffs incorporate the allegations in paragraphs 1 through 114 above as

    though fully set forth herein.

            192.187.       A fiduciary relationship existed between Wright Brothers and Plaintiffs,

    as parties to the Escrow Agreements.

            193.188.       The Trust Account was labeled and described as a “Trust Account” at

    Bank of America and on bank statements and was referred to as an escrow account in at least one

    of the Letters.

            194.189.       BofA owed a duty to Plaintiffs because

                               a. it knew that Wright Brothers was a fiduciary of Plaintiffs, by virtue

                                     of Wright Brothers’ use of the title of “Trust Account” and its




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                                   familiarity with the logistics of aviation transactions, as well as the

                                   basic functions of an aircraft title company;

                               b. it knew, or should have known, that Wright Brothers was

                                   misappropriating the funds in the Trust Account, as it possessed

                                   and reviewed the Trust Account statements which reflected huge

                                   deposits and withdrawals which were inconsistent with the activity

                                   of a genuine trust account;

                               c. it was a party to a transaction (the deposit of Plaintiffs’ funds in

                                   the Trust Account) who decided to speak and had specifical

                                   knowledge of material facts to which Plaintiffs did not have access.

                                   BofA knew or should have known that Wright Brothers, one of the

                                   Perpetrators of the fraud, intended to provide the Letters to

                                   Plaintiffs or otherwise provide Plaintiffs with information

                                   contained in the Letters. As foreseeable recipients of the

                                   information provided in the comfort and balance verification

                                   letters, BofA owed a duty to Plaintiffs to provide only accurate and

                                   complete information.

           195.190.        Pursuant to its internal policies, BofA is responsible for taking measures

    to ensure that Wright Brothers, and other customers, are not engaged in any suspicious banking

    activity and to conduct appropriate due diligence on its customers and their accounts. BofA is

    obligated to consider the type of account, and its size, the pattern of activity, including types and

    frequency of transactions, among other factors, to assess risks.




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           196.191.        Trust accounts formed in private banking departments, like the Trust

    Account, is a recognized scenario where enhanced due diligence is appropriate.

           197.192.        BofA maintained the Trust Account for Wright Brothers for almost 20

    years and was familiar with the typical pattern of activity.

           198.193.        Because trust accounts are designed to safeguard deposits until certain

    conditions are fulfilled, BofA knew or should have known that Plaintiffs’ Escrow Funds

    deposited in the Trust Account could not be withdrawn unless or until the conditions precedent

    set forth in the escrow agreement had been met.

           199.194.        BofA knew or should have known that the Escrow Funds were to be

    returned to Plaintiffs upon the occurrence of a condition precedent.

           200.195.        Plaintiffs, as depositors to the Trust Account, were foreseeably impacted

    by the withdrawal of funds from the Trust Account.

           201.196.        BofA owed a duty to Plaintiffs to exercise the reasonable and ordinary care

    of competent bank officers in managing and supervising the Trust Account.

           202.197.        BofA failed to undertake the recommended enhanced due diligence for a

    trust account and failed to monitor for suspicious activity.

           203.198.        BofA breached its duty to Plaintiffs by failing to monitor the numerous

    withdrawals from the Trust Account and by failing to alert Plaintiffs to the atypical and suspicious

    activities in the Trust Account.

           204.199.        As a direct and proximate result of BofA’s negligence, Plaintiffs sustained

    actual damages in an amount in excess of $167 million.

           WHEREFORE, Plaintiffs demand as follows:

           A.      A judgment awarding damages of at least $167,875,000, plus interest.




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          B.     Leave to seek punitive damages, in addition to actual damages, in an amount
                 sufficient to make an example of and to punish BofA.

          C.     A judgment awarding Plaintiffs their attorneys’ fees as permitted by law.

          D.     A judgment awarding Plaintiffs their costs and disbursements as permitted by law.

          E.     A judgment awarding Plaintiffs such other and further relief as this Court deems
                 just and proper.

                                          JURY DEMAND

          Plaintiffs hereby demand a trial by jury.


    Dated: October 23, 2023March 29, 2024                  Respectfully submitted,

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                                                Attorneys for Plaintiffs




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